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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )       No. 4:04-CV-109-HLM
                                         )
CBOCS, INC., f/k/a                       )
CRACKER BARREL OLD                       )
COUNTRY STORE, INC.,                     )
                                         )
      Defendant.                         )
                                         )

                       STIPULATION OF DISMISSAL

      The United States and CBOCS, Inc., f/k/a Cracker Barrel Old Country Store,

Inc. (“the parties”) hereby stipulate, based on the audits and reports of the

independent consultants and review conducted by the United States, that CBOCS,

Inc. has substantially complied with the provisions of this Court’s May 18, 2009,

Agreed Order (Document 24). The Agreed Order became effective upon entry by

the Court on May 18, 2009, and, by its terms, remained effective for fifteen (15)

months thereafter, up to and including August 18, 2010 (Document 24 at ¶ 67). On

July 23, 2010, the parties moved jointly to extend certain paragraphs of the Agreed

Order, including those providing for determinations of substantial compliance
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(¶¶ 64, 67) through August 31, 2010. (Document 25). The Court granted that

motion on July 28, 2010. (Document 26). Because CBOCS now has achieved

substantial compliance, the parties stipulate that the Order will expire as scheduled

on August 31, 2010.



      Respectfully submitted this 30th day of August, 2010.


For Plaintiff United States of America:

SALLY QUILLIAN YATES                          THOMAS E. PEREZ
United States Attorney                        Assistant Attorney General
Northern District of Georgia                  Civil Rights Division

                                              s/Nancy F. Langworthy
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For Defendant CBOCS, Inc., f/k/a Cracker Barrel Old Country Store, Inc.:

      s/Michael J. Zylstra
By:   Michael J. Zylstra
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      and Corporate Secretary
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           CERTIFICATION PURSUANT TO LOCAL RULE 7.1D

I hereby certify that this motion complies with the font requirements set

forth in Local Rule 5.1C, in that it is written in Times New Roman 14-point font.

                                             s/Nancy F. Langworthy




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

UNITED STATES OF AMERICA,       )
                                )
     Plaintiff,                 )
                                )            No. 4:04-CV-109-HLM
            v.                  )
                                )
CRACKER BARREL OLD              )
COUNTRY STORE, INC.,            )
                                )
     Defendant.                 )
______________________________ )

                         CERTIFICATE OF SERVICE

       I hereby certify that on August 30, 2010, I filed the foregoing document
entitled Stipulation of Dismissal via the Court’s CM/ECF system, which shall
send notice to the following counsel of record:

Nancy F. Langworthy
Max Lapertosa
Attorneys
U.S. Department of Justice
E-mail addresses: nancy.langworthy@usdoj.gov
                   max.lapertosa@usdoj.gov

                             s/ Nancy F. Langworthy




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